
BEA, Circuit Judge,
concurring in part and dissenting in part:
I agree with the majority that the district court correctly concluded that the doctrine of consular nonreviewability prevents the federal courts from reviewing Rivas’ Permission to Reapply for Admission (“Form 1-601”). But I would conclude, as did the district court, that be*854cause Rivas admitted he violated the law which prohibits alien smuggling, consular nonreviewability also deprives us of subject matter jurisdiction to review Rivas’ letter requesting reconsideration of the denial of his Application for Immigrant Visa and Alien Registration Form (“Reconsideration Letter”). Thus, I respectfully dissent.
As the majority states, the federal courts generally do not have jurisdiction to review the actions of consular officials. Li Hing of Hong Kong, Inc. v. Levin, 800 F.2d 970, 971 (9th Cir.1986). This is known as the doctrine of consular nonreviewability. As an exception to the doctrine, a court has jurisdiction to review consular actions “when [the] suit challenges the authority of the consul to take or fail to take an action as opposed to a decision within the consul’s discretion.” Patel v. Reno, 134 F.3d 929, 931-32 (9th Cir.1997). Federal regulations govern the procedure in refusing individual visas:
Reconsideration of refusal. If a visa is refused, and the applicant within one year from the date of refusal adduces further evidence tending to overcome the ground of ineligibility on which the refusal was based, the case shall be reconsidered. In such circumstance, an additional application fee shall not be required.
22 C.F.R. § 42.81(e) (emphasis added).
Rivas’ visa application was denied because he admitted to a violation of alien smuggling laws in his consular interview. In his Reconsideration Letter, Rivas submitted documents to the consulate showing that Rivas was arrested for conspiracy to commit alien smuggling. The documents also show that Rivas was not convicted of alien smuggling. But did the documents “tend[ ] to overcome the ground of ineligibility” on which the denial of Rivas’ visa was based? Quite the contrary: Rivas failed to rebut his own admission he had smuggled aliens into the United States.
Rivas then filed an action in mandamus, declaratory relief and other claims in the Central District of California. Nowhere in the complaint does Rivas deny smuggling aliens. In the facts section, Rivas states that he “was ordered deported on June 2, 1973,” and that when he returned to the United States in 1974, he “was arrested for conspiracy to commit alien smuggling and harboring aliens.” (emphasis added.) Indeed, Rivas appears to admit some violation of law in his complaint: “The one incidence of removal in 1974 should be afforded little weight ... Plaintiff has provided show [sic] the government with evidence that he has been rehabilitated and has been law abiding in the years following this incident.”
Defendants filed a Motion to Dismiss under, inter alia, Fed.R.Civ.P. 12(b)(1). Defendants’ main argument was straightforward:
There is nothing to adjudicate ... Because the consular officer determined that Mr. Rivas was involved in alien smuggling of persons other than his spouse, parent, so, or daughter, he did not qualify [for a visa] ... The Court is without jurisdiction under the doctrine of consular nonreviewability to review the actions of the consular officer in denying the visa application, and lacks jurisdiction to compel the State Department to reopen its decision to deny the visa.
In support of the Motion to Dismiss, Defendants submitted the declaration of Santiago M. Burciaga, the Chief of Immigrant Visas at the Ciudad Juarez consulate (“Burciaga Declaration”).1 Burciaga stat*855ed: “[Rivas] was denied an immigrant visa on January 2, 2008. The consular officer determined that [Rivas] is inadmissible as a matter of law, having admitted to a violation of 8 U.S.C. § 1182(a)(6)(E).”2-3 Rivas filed an opposition to the Motion to Dismiss, but did not object to, or even mention, the Burciaga Declaration. He merely concluded that “the record does not establish that he is inadmissible under section 212(a)(6)(E) of the [INA].” Nor did Rivas claim on appeal it was error to admit into evidence the Burciaga Declaration.
The nondiscretionary duty to reconsider a visa refusal, under 22 C.F.R. § 42.81(e), is triggered only when the applicant adduces evidence tending to overcome the ground of ineligibility. The ground of ineligibility upon which the visa refusal was based was that Rivas had violated the law prohibiting alien smuggling. The evidence Rivas adduced to overcome that ground was that although he had been arrested for alien smuggling, he had not been convicted of alien smuggling.
The problem with the sufficiency of his proof is that 8 U.S.C. § 1182(a)(6)(E) does not make ineligible for visas only those who have been convicted of alien smuggling. It bars those who have committed alien smuggling, regardless whether they have escaped conviction. Unfortunately for him, Rivas had already admitted he had committed alien smuggling in violation of section 1182(a)(6)(E), prior to his Reconsideration Letter.
The sole remaining point to be discussed is whether the record evidence proves that Rivas indeed did admit to alien smuggling.
The majority opinion’s arguments that Rivas did not admit to alien smuggling are unconvincing.
First, the majority states that Defendants “have failed to provide any evidence regarding the details of Rivas’s purported admission.” Majority Op. at 852. But if the evidence in the record shows that Rivas admitted to violating the alien smuggling statute, what further “details” would be relevant to a consular official’s decision not to grant a visa account the applicant violated the law against alien smuggling?4 The majority does not grace us with what “details” are necessary to support Rivas admission nor, of course, any case or statute authority that requires such “details.”
The majority next states that Defendants have failed to prove that Rivas’ admission was “valid.” Majority Op. at 852 (citing Pazcoguin v. Radcliffe, 292 F.3d 1209, 1215-16 (9th Cir.2002)).5 Pazcoguin *856dealt with admissions made by aliens in the deportation context. In that context, BIA case law established three requirements for valid admissions: the admitted conduct must constitute the essential elements of a crime, the party making the admission must have been provided with a definition and essential elements of the crime, and the admission must be voluntary, Id. In the context of the immigration courts, where there are detailed procedural safeguards, such requirements are understandable. However, the majority has not presented any authority for the proposition that such requirements apply to the conduct of consular officers interviewing visa applicants.6 Consular interviews are very different from deportation proceedings, a fact highlighted by the doctrine of consular nonreviewability. The consulate’s discretionary decision whether to grant a visa is unlike an Immigration Judge’s decision, based on detailed laws and regulations, whether an alien is to be deported.
As was the case with its requirement of “details” to validate the admission, the majority fails to state what provision of law requires the government to prove that an admission of facts establishing inadmissibility before a consular official is “valid”— much less what constitutes the elements of when an admission is “valid.” Certainly, Pazcoguin is of no help to such an argument. Besides taking place in a totally different context, Pazcoguin’s admission was valid enough to exclude him from admission even after he had been granted a visa. See infra note 5. If general standards by which an admission can be questioned as “valid” are invoked — such as force, coercion or hoodwinking — I can see nothing in the record to suggest that Rivas was so dealt with by the Juarez consular officials. Certainly, the majority do not cite any such record evidence, nor did Rivas even claim that to be the fact in his district court papers or his brief on appeal.
Indeed, Rivas did not say one word about his admission of alien smuggling detailed in Burciaga’s declaration. Not in the district court; not in his briefs on appeal. Even Rivas does not claim his admission to alien smuggling is not “valid.” It is thus quite difficult to understand the majority’s dismissal of Rivas’ admission on the ground it was not proved “valid,” whatever that might mean.
The majority criticizes the Burciaga Declaration as a “hearsay statement [that] is insufficient to prove that Rivas in fact admitted to the alleged violation.” Majority Op. at 853 fn. 6.
First, the majority’s characterization of the Burciaga Declaration as “hearsay” is plainly and demonstrably wrong. Rivas’ admission is not hearsay. Under Fed.R.Evid. 801(d)(2)(A), a statement “offered against an opposing party” that “was made by the party” is not hearsay. Rivas’ admission, offered against him here, is an “admission by a party-opponent,” and is thus not hearsay under the Federal Rules of Evidence.
The majority would have a better argument if it characterized Burciaga’s state*857ment as lacking ■ foundation or personal knowledge. Under Fed.R.Evid. 602, “[a] witness may testify to a matter only if evidence is introduced sufficient to support a finding that the witness has personal knowledge of the matter.” Indeed, the Burciaga Declaration mentions “[t]he consular officer” who interviewed Rivas. Since it appears ambiguous whether Burciaga, who is the Chief of Immigrant Visas at the Ciudad Juarez Consulate, was that “consular officer” who himself interviewed Rivas, Burciaga may have lacked personal knowledge of Rivas’ admission.
However, Rivas never objected to the admission of the Burciaga Declaration on grounds of lack of personal knowledge, nor indeed on any other grounds. Thus, it became permissible evidence on the Motion to Dismiss for lack of subject matter jurisdiction. See, e.g., Pfingston v. Ronan Engineering Co., 284 F.3d 999, 1003 (9th Cir.2002) (“In order to preserve a hearsay objection, a party must either move to strike the affidavit or otherwise lodge an objection with the district court.”). Further, had Rivas objected to the Burciaga Declaration below, Defendants could perhaps have cured any deficiencies by submitting an affidavit from the consular officer who actually interviewed Rivas, if he was someone other than Burciaga. Rivas’ failure so to object deprived Defendants of that opportunity.
Next, the majority’s characterization of the Burciaga Declaration as “insufficient” to prove Rivas’ admission is puzzling. Majority Op. at 852-53. The majority devotes one sentence to dismissing the Burciaga Declaration, so it is difficult to divine what it means by “insufficient.” Does the majority mean that one witness to Rivas’ admission is insufficient proof? Surely that is incorrect. It is axiomatic that the testimony of one credible witness is sufficient to prove the truth of any fact testified to. See, e.g., 3 Fed. Jury Prac. &amp; Instr. § 10454 (“The weight of the evidence is not necessarily determined by the number of witnesses ... You may find the testimony of a small number of witnesses as to any fact is more credible than the testimony of a larger number of witnesses to the contrary.”); Fifth Circuit Pattern Jury Instructions (Civil Cases), Instruction No. 3.1 (2009) (“The testimony of a single witness may be sufficient to prove any fact, even if a greater number of witnesses may have testified to the contrary, if after considering all the other evidence you believe that single witness.”).7
Last, the majority notes that where the “jurisdictional questions in this appeal overlap completely with the merits of the question remaining in this case ..., dismissal for lack of subject matter jurisdiction was not appropriate.” Majority Op. at 853. It is true that the merits of this case overlap with the jurisdictional question: both issues hinge on whether the consulate had a nondiscretionary duty to act based on additional materials submitted by Rivas. But the case the majority cites for its conclusion that dismissal is not warranted actually supports quite the opposite conclusion. In Roberts v. Corrothers, we said:
A court may not resolve genuinely disputed facts where the question of jurisdiction is dependent on the resolution of factual issues going to the merits. In such a case, the district court assumes *858the truth of allegations in a complaint or habeas petition, unless controverted by undisputed facts in the record.
812 F.2d 1173, 1177 (9th Cir.1987) (citations and quotation marks omitted) (emphasis added). Whether Rivas admitted to alien smuggling is not a genuinely disputed fact, but rather an admitted-by-petitioner undisputed fact in this record.
For the above reasons, I would affirm the district court’s order dismissing Rivas’ claims for lack of subject matter jurisdiction.

. In reviewing a motion to dismiss for lack of subject matter jurisdiction, the court may *855consider "affidavits or any other evidence properly before the court.” Sommatino v. United States, 255 F.3d 704, 710 n. 3 (9th Cir.2001).


. 8 U.S.C. § 1182(a)(6)(E) provides: “Any alien who at any time knowingly has encouraged, induced, assisted, abetted, or aided any other alien to enter or to try to enter the United States in violation of law is inadmissible.”


. Regarding Rivas’ admission, the consular official also determined that "no waiver provision exists” under 8 U.S.C. § 1182(d)(ll). Such discretionary waivers are available “if the alien has encouraged, induced, assisted, abetted, or aided only an individual who at the time of such action was the alien's spouse, parent, son, or daughter (and no other individual) to enter the United States in violation of law.” Id.


. The majority also criticizes the government for failing to "provide any proof that Rivas admitted to attempting to smuggle someone other than his spouse, parent, son, or daughter, thereby making him ineligible for a humanitarian waiver under 8 U.S.C. § 1182(d)(ll).” Majority Op. at 852 fn. 3. Wrong. The Burciaga Declaration explicitly states that "no waiver provision exists per INA § 212(d)(l 1) (8 U.S.C. § 1182(d)(l 1)).”


. Pazcoguin asked whether petitioner "admitted] committing acts which constitute the essential elements ... of a violation of ... any *856law or regulation of ... a foreign country relating to a controlled substance....” 292 F.3d at 1213 (edits in original). The petitioner was granted an immigrant visa as the unmarried son of a lawful permanent resident, but upon entry to the United States, an IJ found him excludable based on statements admitting marijuana use while in the Philippines. Id. at 1212. The BIA dismissed petitioner's appeal, and the Ninth Circuit denied the petition for review, holding Pazcoguin’s admission valid. Id. at 1219.


. The majority states: "We express no opinion on whether the BIA standard applies to the consular interview context.” Majority Op. at 852 fn. 4. If that is so, why cite Pazcoguin?


. I can think of only one crime for which the testimony of more than one witness is required, and that is because of the explicit mandate of the United States Constitution. "No Person shall be convicted of Treason unless on the Testimony of two Witnesses to the same overt Act, or on Confession in open Court.” U.S. Const. art. III, § 3, cl. 1. Treason is not at issue here.

